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      In The United States Court of Federal Claims
                                            No. 08-758C

                                      (Filed: January 15, 2010)
                                             __________
 ROGER A. HOUSE,

                         Plaintiff,

        v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                             ORDER
                                            __________

       On January 14, 2010, defendant filed an unopposed motion for entry of proposed briefing
schedule. The motion is hereby GRANTED. Accordingly,

       1.       On or before February 16, 2010, defendant shall file the
                Administrative Record in CD-ROM form;

       2.       On or before February 16, 2010, defendant shall file its motion for
                judgment on the administrative record;

       3.       On or before March 19, 2010, plaintiff shall file his response and
                cross-motion for judgment on the administrative record;

       4.       On or before April 5, 2010, defendant shall file its reply in support
                of its motion and its response to plaintiff’s cross-motion; and

       5.       On or before April 22, 2010, plaintiff shall file his reply in support
                of his cross-motion.

       IT IS SO ORDERED.

                                                               s/ Francis M. Allegra
                                                               Francis M. Allegra
                                                               Judge
